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SOUTHERN DISTRICT OF NEW YORK

TO: New York City Office of Chief Medical Examiner
421 East 26th Street
New York, New York 10016

GREETINGS:

WE COMMAND YOU that all and singular business and excuses being laid aside, you appear and
attend before the United States District Court for the Southern District of New York, 300 Quarropas
Street, White Plains, New York, in the Southern District of New York, at the following date, time and
place:

Appearance Date: April 30, 2025 Appearance Time: 10:00 a.m.
Appearance Place: Courtroom 520

to give evidence in the following matter:
U.S. v. Daniel V. Smith, 24 Cr. 142 (PMH)

and not to depart the Court without leave thereof, or of the United States Attorney, and that you bring
with you and produce at the above time and place the complete New York City Office of the Chief
Medical Examiner’s casefile for the autopsy and/or cause of death determination of Patrick Deck,
Medical Examiner Case #B-22-13933, including but not limited to all third party medical/hospital
records.

Failure to attend and produce any items hereby demanded will constitute contempt of court and will
subject you to civil sanctions and criminal penalties, in addition to other penalties of the Law.
SO ORDERED

DATED: White Plains, New York rypay/
April 23, 2025
PHILIP M. HALPERN
UNITED STATES DISTRICT JUDGE

JAY CLAYTON
United States Attorney for the
Southern District of New York

Assistant United States Attorney
50 Main Street, Suite 1100
White Plains, New York 10606
Telephone: (914) 993-1940
